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                                     UNITED S TATES DIS TRICT COURT
                                     FOR THE DIS TRICT OF COLORADO
                                                OFFICE OF THE CLERK


GREGORY C. LANGHAM                                                                                Room A-105
CLERK OF COURT                                                                          Alfred A. Arraj U.S. Courthouse
                                                                                                901 19th Street
                                                                                        Denver, Colorado 80294-3589
                                                                                             Phone (303) 844-3433
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                                                   June 21, 2005



Ted H. M erriam
Kevin A. Planegger
M ERRIAM LAW FIRM , P.C.
1625 Broadway, Suite 770
Denver, CO 80202

           Re:    M ark Walton vs. The United States of America
                  Civil Action Number: 05-CV-1149 AP

Dear Counsel:

       Upon review of the file we note this case appears to be an administrative agency appeal. This case was
randomly drawn to Judge M arcia S. Krieger in error. This case should have been assigned to the AP Docket
pursuant to D.C.COLO.LCivR 40.1E.

       Please note that the new case number is 05-CV-1149 AP. All future pleadings should reference the new
case number as shown above.

           Thank you for your cooperation in this matter.

                                               Very truly yours,
                                               GREGORY C. LANGHAM , CLERK




                                               By: s/Bonnie M cCarty
                                                      Deputy Clerk
(Rev. 10/02)
